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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION
  In re:                           §
                                   §
  HOUSTON REAL ESTATE PROPERTIES, §    Case No. 22-32998
  LLC                              §   (Chapter 7)
                                   §
         Debtor,                   §
                                   §
  JOHN QUINLAN, OMAR KHAWAJA,      §
  AND OSAMA ABDULLATIF,            §
                                   §
         Plaintiffs,               §
                                       Adversary No. 23-03141
                                   §
  v.                               §
                                   §
  HOUSTON REAL ESTATE PROPERTIES, §
  LLC, et al.,                     §
                                   §
         Respondents.              §


              SHAHNAZ CHOUDHRI’S EMERGENCY MOTION TO
                       RESCHEDULE DEPOSITION

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED.

IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED
WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE
NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS
THE PARTIES AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT
THE HEARING AND MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

EMERGENCY RELIEF HAS BEEN REQUESTED. IF THE COURT CONSIDERS THE
MOTION ON AN EMERGENCY BASIS, THEN YOU WILL HAVE LESS THAN 21 DAYS
TO ANSWER. IF YOU OBJECT TO THE REQUESTED RELIEF OR IF YOU BELIEVE

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THAT THE EMERGENCY CONSIDERATION IS NOT WARRANTED, YOU SHOULD
FILE AN IMMEDIATE RESPONSE.

TO THE HONORABLE JUDGE OF SAID COURT:


TO THE HONORABLE JEFFREY P. NORMAN, UNITED STATES BANKRUPTCY JUDGE:

COMES NOW, Shahnaz Choudhri (“Shahnaz” or “Movant”) and files this Emergency Motion to

Reschedule Deposition (the “Motion”) currently set to take place on November 8, 2024 and would

respectfully show as follows:


                                           I.
                                SUMMARY OF REQUESTED RELIEF

   Movant’s deposition in this matter is presently scheduled for November 8, 2024 at 11:00AM in the

attorney room at the federal courthouse for the United States Bankruptcy Court for the Southern District of

Texas, Houston Division. Late, on November 5, 2024, Movant became suddenly ill. Movant is currently

addressing serious impacts to her health and is seeking emergency medical care. Unfortunately, due to this

sudden and unforeseen illness, Movant is unable to attend the pre-scheduled deposition of November 8,

2024. Movant is willing to find another mutually agreeable time with opposing counsel to complete her

deposition, subject to improvements to her health. Given the urgency of the requested relief, Movant

respectfully seeks relief from the Court regarding this time sensitive matter by way of this Motion.

   Lori Hood sent email correspondence to T. Michael Ballases on November 6, 2024 in an effort to

reschedule the deposition for an alternate date, but an agreement could not be reached. (See Exhibit 1)

   Emergency relief is requested on November 7, 2024, considering the deposition is scheduled for

November 8, 2024 at 11:00am.

                                                 II.
                                                PRAYER
   Movant Shahnaz Choudhri respectfully requests that this Court grant this Emergency Motion to

Reschedule Deposition presently set for November 8, 2024 at 11am.


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      Dated: November 7, 2024


                                                   Respectfully submitted,

                                                   /s/ James Q. Pope
                                                   James Q. Pope
                                                   TBN: 24048738
                                                   The Pope Law Firm
                                                   6161 Savoy Drive, Suite 1125
                                                   Houston, Texas 77036
                                                   Ph: 713-449-4481
                                                   jamesp@thepopelawfirm.com

                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was served on interested
parties in the manner listed below on November 7, 2024.

         23-03141 Notice will be electronically mailed, via the court’s ECF noticing system
to:

Thomas Michael Ballases on behalf of Plaintiff John Quinlan
ballases@hooverslovacek.com

Thomas Michael Ballases on behalf of Plaintiff Omar Khawaja
ballases@hooverslovacek.com

Thomas Michael Ballases on behalf of Plaintiff Osama Abdullatif
ballases@hooverslovacek.com

Matthew W. Bourda on behalf of Creditor Cypress BridgeCo, LLC
matthew.bourda@mhllp.com

Matthew W. Bourda on behalf of Creditor Magnolia BridgeCo, LLC
matthew.bourda@mhllp.com

Robert Paul Debelak, III on behalf of Creditor Cypress BridgeCo, LLC
bobby.debelak@mhllp.com

Robert Paul Debelak, III on behalf of Creditor Magnolia BridgeCo, LLC
bobby.debelak@mhllp.com

Robin L Harrison on behalf of Defendant A. Kelly Williams
rharrison@hicks-thomas.com


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Angeline Vachris Kell on behalf of Plaintiff John Quinlan
kell@hooverslovacek.com, avkell@gmail.com;doucet@hooverslovacek.com

Angeline Vachris Kell on behalf of Plaintiff Omar Khawaja
kell@hooverslovacek.com, avkell@gmail.com;doucet@hooverslovacek.com

Angeline Vachris Kell on behalf of Plaintiff Osama Abdullatif
kell@hooverslovacek.com, avkell@gmail.com;doucet@hooverslovacek.com

Jennifer Lea MacGeorge on behalf of Defendant 2727 Kirby 26L LLC
service@jlm-law.com

Jennifer Lea MacGeorge on behalf of Defendant Jetall Companies, Inc.
service@jlm-law.com

Lenard M. Parkins on behalf of Defendant Shahnaz Choudhri
lparkins@parkinsrubio.com,
9141256420@filings.docketbird.com;bmcfadden@parkinsrubio.com

Steven A. Leyh on behalf of Plaintiff John Quinlan
leyh@hooverslovacek.com, graham@hooverslovacek.com

Steven A. Leyh on behalf of Plaintiff Omar Khawaja
leyh@hooverslovacek.com, graham@hooverslovacek.com

Steven A. Leyh on behalf of Plaintiff Osama Abdullatif
leyh@hooverslovacek.com, graham@hooverslovacek.com

Timothy L. Wentworth on behalf of Defendant Randy W Williams Ch7 Trustee
twentworth@okinadams.com, bmoore@okinadams.com


                                                         /s/ James Q. Pope
                                                         James Q. Pope




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